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IN THE CIRCUIT COURT OF MARSHALL COUNTY, TENNBSSEE

 

AT LEWISBURG

RUBEN CLANTON, )
)
Plaintl&`, )

) DocKET No.
)
vs. )
)
`HARTFORD LIFE AND ACCIDENT )
:NSURANCE coMPANY )
)
Defendant. )
)

VERIFIED COMPLAINT

 

Comes now the Plaintiff`, Ruben Clanton, and by way of complaint would state and show
unto this Honorable Court as follows:
INTRODUCTION
1. This is an action for injunctive relief by Ruben Clanton to enjoin and restrain
Hartford Life and Accident lnsurance Cornpany from engaging in any further collection attempts
regarding the Defenclant’s claimed overpayment of short-tenn disability benefits 'Ihe injunctive
relief requested includes but is not limited to enjoining and restraining the Dei`endant from

contacting or attempting to contact the Plaintiff directly or forwarding his account to a collection

agency.

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PARTIES

2. The Plaintiff, Ruben Clanton, is a citizen and resident of Lewisburg, Marsltall
County, Tennessee. At all times relevant to the allegations contained herein, the Plaintiff was
employed by Precision Strip Transport as a truck driver.

3. The Defendant, Hartt`ord Life and Accident lnsu.rance Cotnpany, is a foreign
corporation that is authorized to write policies of disability insurance in the State of Tennessee.
At all times relevant to the allegations contained herein, the l)efendant provided a policy of
short-term and long»terrn disability benents to employees of Preoision Strip Transpcrt, including
the Plaintitf. v

FACTS

 

4. On or about August 16, 2012, the Plaintiif sustained an accidental injury arising
out of and in the course of his employment with Precision Strip Transport.

5. On or about August 24, 2012, Mr. Clanton was removed from the workforce by
orders of his treating physician until such time as he underwent and sufficiently recovered liorn
surgery to repair a torn biceps tendon.

6. On or about Septernber 5, 2012, the Plaintiff retained Arena Law Firm, P.C. to

- represent him in his claim for workers’ compensation benefits

7. On or about September 13, 2012, the workers’ compensation insurance carrier for
Precision Strip Transport denied the Plaintiff’s claim for workers’ compensation benefits based
upon an alleged willful failure or refusal to follow a safety policy.

8. On or about Septernber 14, 2012, the Defendant was provided with a copy of the
workets’ compensation insurance carrier’s denial letter. As such, the Defendant began making

payments to Mr. Clanton for benefits under the short-term disability policy.

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9. On or about September 14, 2012, Arena Law Firm, P.C. submitted a Request for
Assistauce along with a lengthy memorandum and accompanying exhibits to the Pl`ernressee
Depattment of Labor and Worlcforce Development, seeking an order for the payment of
temporary total disability benefits and medical benefits pursuant to the Workers’ Compensation
Act of the State of Tennessee. 7

10. On or about October 25, 2012, an initial hearing was conducted by Specialist
Scott Yarbrough concerning the Plaintiff’s Request for Assistance. Certain issues arose during
the hearing which required that it be continued The hearing regarding the Plaintiii‘s Request for
Assistance was concluded on November 14, 2012.

ll. On or about November 19, 2012, an order denying workers’ compensation
benefits Was entered by Specialist Yarbrough.

12. On or about Novernber 21, 2012, a Request for Adrninistrative Review of a
Workers’ Compensation Specialist’s Order was filed on behalf of the Plaintiff by Arena Law
Firrn, P.C.

l3. On or about December 13, 2012, a hearing was conducted by the Administrator‘s
Designee, Ron McNutt, concerning the Plaintifi’s Request for Administrative Review_

14. On or about December 19, 2012, an order Was entered reversing the prior Order of
Denial, and further ordering that it was appropriate to commence payment of temporary total
disability benefits and medical benefits by the workers’ compensation insurance carrier.

i5. On or about Jauuary 22, 20{3, Arena Law Pirrn, P.C. received a check in the
amount of $14,130.48 from the workers’ compensation insurance carrier for l’recision Stn`p
Transport. That check represented temporary total disability benefits retroactive to August 24,

2012 and up through January l”)', 2013.

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16. On or about January 29, 2013, Arena Law Firm, P.C. wrote to the Defendant

advising it of the events that had transpired Arena Law Firm further advised the Defendant that

n it was appropriate for it to discontinue paying short-term disability benefits at that tirne. `Arena
Law Firm requested an itemization detailing any subrogation interest the Defendant may have
had. 'i`hat letter further advised the Defendant that Arena Law Firm would agree to protect that
subrogation interest and its fee for doing so would be 1/3 of any benefits recovered 'l`he
Defendant never replied to that letter, a copy of Which is attached hereto as Exhibit A.

l'!. After the Defendant failed to provide the requested itemization of benefits paid, a
follow up telephone call was initiated by Arena Law Firm, P.C. again requesting an itemization
Pursuant to the Det`endant’s request, Arena Law Firrn provided it with an authorization signed by
the Plaintiif allowing the disclosure of the information requested

18. On or about February 27, 2013, the Defendant finally provided an itemization of
benefits paid on the Plaintiff’s short»tenn disability claim in the amount ot`S l l ,885.35.

19. On or about March 5, 2013, Arena Law Firrn, P.C. tendered a check to the
Defendant in the amount of $7,923.57 representing satisfaction in full of any subrogation interest
which the Defendant may have in the Plaintiff’s workers’ compensation claim. An
accompanying letter stated “l`hc total benefits paid were 31 1,885.35 from which lhave deducted
1/3 as my collection fee in accordance with my letter of January 29, 2013.” A copy of said letter
is attached hereto as Exhibit B.

20. On or about March 12, 2013, the Defendant sent a letter to the Plaintift`
acknowledging receipt of the check in the amount of 37,923 .57, stating a balance remained in the

amount of $3,961.?8 and if repayment is not received by March 26, 2013 it would forward the

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alleged overpayment balance to a collection agency for further assistance A copy of said letter
is attached hereto as E)dzibit C.

21. On or about March 14, 2013, the Defendant again sent a letter to the Plaintiff
requesting reimbursement of the alleged overpayment A copy of said letter is attached hereto as
exhibit D. l

22. On or about March lS, 2013, the Defendant sent a letter to Arena Law Firm, P.C.
stating “We understand your ability to withhold a fee for the services you provided your client in
this niatter. However we do not recognize this as a reduction to the overpayment on his denied
claim. Your client is responsible for rebutting the full Sl 1,885.35‘ As such The Hartforcl Will
continue to pursue collection of these funds from your clien .” A copy of said letter is attached
hereto as Exliibit E.

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23. 'l`he Plaintiff incorporates by reference herein the allegations contained in
Paragraphs 1~22 and does further allege as follows:

24. The Comrnon Fund doctrine permits Arena Law Firm, P.C. to charge the
Defcndant an attorney’s fee for legal services rendered in protecting the Defendant’s rights and
interests and achieving a favorable outcome in the underlying workers’ compensation case. The
Plaintift` has no obligation, contractual or otherwise, to pay the Defendant’s attorney‘s fees.
Tnus, there is a substantial likelihood of success in this cause of action

25. Unless the Defendant is enjoined and restrained from engaging in any further
collection attempts, including but not limited to forwarding his account to a collection agency,

the Plaintin will suffer immediate and irreparable harm, loss or damage to his credit rating

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WI-IER_EPORE, PREMISES CONS]DERED, TI-[E PLA]NTIFF PRAYS:

l. That proper process issue and be served upon the Defendant, Hartford Life and
Accident lnsurance Company, requiring it to appear and answer within the time prescribed by
law.

2. That a temporary restraining order issue pursuant to 'l`enn. R. Civ. P. 65.01,
restraining and enjoining the Defendant1 Hartford Life and Accident hisurance Cotnpany, from
engaging in any further collection attempts, including but not limited to forwarding the
Plaintift’s account to a collection ageney.

3. That a temporary injunction issue further restraining and enjoining the Defendant,
Hartford Life and Accident Insurance Company, from engaging in any further collection
attempts, including but not limited to forwarding the Plaintiff’s account to a collection agency or
in the alternative, recalling and cancelling the collection agency referral if already made with
instructions to the agency to report no adverse action to any credit reporting agency

4. ` That a permanent injunction issue.

5. For such iiirther, general and specific relief to which the Plaintiff may prove

entitled

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Respcctfully submitted,

ARENA LAW FIRM, P. C.

s /W

"J"§NTHON`Y ARENA
521-4 Maryland Way
Suite 402
Brentwood, 'IN 37027
(615) 515~5500
Supreme Court #14704
ATTORNEYS FOR PLA]NTIFF

’I`H.IS IS TI~IE FlRST APPLICATION FOR EXTRORDINARY RELIEF IN THIS
CAUSE.

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STATE OF TENNESSEE

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igang CKA'”T 5/1/ , after first being duly sworn according to law make oath that

l have read the foregoing Petition and that the facts set for the therein are true and correct to the best
of my knowledge, information, and belief.

wave %tai

RUBEN CLANTON

Swom to and subscribed before me this

<`Q_rl_ day ofDn_r§i\. 2013.

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NOTARY PUBLIC

 

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, 'AR?NA

LAW PIRM

 

lanuary 29, 2013

V'¢a I.LS. Mai! and Fac.i'imi!e: 1877) 454-721 7

The Hart:f`ord Insurance
P.O. Box 14305
Leamgron, KY 40512

Re: 0ur Client/Claimant: Ruben Cianton
Ciaim No.: 9004066935

To Whom lt May. Concern:

f represent Ruben Clanton in his Worlcers’ compensation claim for an injury to his left
shoulder Which occurred on August 16, 2012. The employer had denied that the injury was
compensable under Tennessee Workers’ Compensation Act. l was successful in obtaining an
Order requiring the payment of workers’ compensation benefits from the Tennessee Department
of Labor and Workforce Development. Workers’ compensation benefits were ordered to be paid
retroactive to August 24, 2012.

The Hartford has been paying short tenn disability benefits for this same injury.
Therefore, it appears The Hartford Will have a subrogation interest in these Workers’
compensation benefits

My client is now receiving regular Workcrs’ compensation benefits Therefore, it appears
appropriate to discontinue short disability bene&ts at this time. Please provide me with an
itemization detailing The Hartford’s subrogation interest in this matter. l will agree to protect
The Hartfcrd’s subrogation interest and my fee for doing so will be 1/3 of the extent of that
lIltBl`€St. \

Please provide the requested information to me as soon as possible at the address below.
'lf there are any questions or concerns, please do not hesitate to contact me.

Sincerely,
Arena Law Fircn, P.C.

W%:Z

Exhibit A¢ vermont Are'na

JAAjvsr
Cc: Rubcn Clanton

 

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LAW FIRM

 

March 5, 2013
Joanne L. Nelan '
Benetit Management Services
Sacramento Disability Claim Offrce
The Hartford
P.O. BOX 14302
Louisvilie, KY 40512-4302
Re: Policy Holder: Reliance Steel and Aluminurn Co.
Clairnant: Ruben A. Cianton
Insu_red ID.: 9004066935

Policy No.: GLT696990
near Ms. Nelan: '

Enclosed please my check in the amount of $7,923.57 representing satisfaction in full of
any subrogation interest which The Hartford may have in Mr. Clanton’s workers’ compensation
claim. The total benefits paid were $11,885.35 from which I have deducted 1/3 as my collection
fee in accordance with my letter of .lanuary 29, 2013.

l appreciate your cooperation and please do not hesitate _to contact if you have any

 

questions
Sincerely,
ja
Pl'n'§ony Ar an
.}'AA/vsr
Enclosure

EXhibit B

 

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IN THE CIRCU.[T COURT OF MARSHALL COUNTY, TENNESSEE

AT LEWISBURG

RUBEN cLANroN, )
)
Plaintiff, )

) DOCKBT NO.
l
vs. )
)
HARTFORD LIFE AND ACCIDENT )
U\lSURANCE COMPANY )
)
Defendant. )
)

 

TEMI’ORARY RESTRAINING ORDER

 

‘I`his case is before this Court on the Veriiied Cornplaint for Ternporary Restraining
Order filed by Ruben Clanton, to enjoin and restrain the Defendant from engaging in any further
collection attempts regarding its claimed overpayment of short-term disability benefits, including
but not limited to contacting or attempting to contact the Plaintiff directly or forwarding his
account to a collection agency lts appearing to the Court that the Plaintiff has stated adequate
grounds to temporarily enjoin the Defendant from any further collection efforts, it is hereby:

ORDER, ADJUDGBD and DECREED that the Defendant, Hartford Life and Accident
lnsurance Cornpany, be and hereby are temporarily enjoined and restrained from any further
collection attempts by contacting or attempting to contact the Plaintitf directly or forwarding his

account to a collection agency

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A hearing is set on this matter on ;\C§€=h’! §M¢QUI§ at il 505 a.m., to

determine whether a temporary injunction should issue in this case.

  
  

 

 

Entered this BX{ arch, 2013. _
;WH__,".,
time "
APPROVED FOR ENTRY:
ARENA LAW FIRM, P.C.

  

BY:

 

;KNTHONY glenn
5214 Maryland Way

Suite 402

Brentwood, T'N 37027

(615) 515-5511

Supreme Court #14704

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